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                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF LOUISIANA

    In re:                                           )
                                                     )    Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH OF                     )
    THE ARCHDIOCESE OF NEW ORLEANS                   )    Section “A”
                                                     )
                        Debtor.                      )    Chapter 11
                                                     )


                                         NOTICE OF HEARING

             PLEASE TAKE NOTICE that Berkeley Research Group, LLC filed the Ninth Interim

   Application for Allowance and Payment of Compensation and Reimbursement of Expenses of

   Berkeley Research Group, LLC as Financial Advisors for the Official Committee of Unsecured

   Creditors for the Period November 1, 2023 Through February 29, 2024 [Docket No. 2921] (the

   “Application”) on April 4, 2024.

             PLEASE TAKE FURTHER NOTICE that a telephonic hearing on the Application will

   be held before the Honorable Judge Meredith S. Grabill of the United States Bankruptcy Court for

   the Eastern District of Louisiana, Section A, on April 25, 2024 at 1:30 P.M. Central Standard

   Time.

             PLEASE TAKE FURTHER NOTICE that, pursuant to General Order 2021-2, parties in

   interest and their counsel may attend the hearing either IN PERSON, in Courtroom B-709, 500

   Poydras Street, New Orleans, LA 70130, or VIA TELEPHONE. The dial-in information for

   Section A is 1-504-517-1385; Access Code 129611.

             PLEASE TAKE FURTHER NOTICE that if you object to the relief requested in the

   Application, you must file a written objection no later than seven (7) days before the hearing date.




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            You must serve a copy of your response on the person who sent you this notice. Otherwise,

   the Court may treat the Application as unopposed and grant the relief requested.



    Dated: April 4, 2024                     Respectfully submitted,


                                             /s/ Linda F. Cantor
                                             James I. Stang (CA Bar No. 94435) – admitted pro hac vice
                                             Linda F. Cantor (CA Bar No.153762) – admitted pro hac vice
                                             Pachulski Stang Ziehl & Jones LLP
                                             10100 Santa Monica Blvd., Suite 1300
                                             Los Angeles, CA 90067
                                             Telephone: (310)-277-6910
                                             Facsimile: (310)-201-0760
                                             Email: jstang@pszjlaw.com
                                                     lcantor@pszjlaw.com

                                             Co-Counsel to the Official Committee of Unsecured Creditors




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                                    CERTIFICATE OF SERVICE

          I hereby caused a true and correct copy of the foregoing Notice to be served on April 4,
   2024 upon all parties by electronic case filing for those parties receiving notice via the Court’s
   Electronic Case Filing system, and on all other parties requiring service under the Court’s Ex Parte
   Order Authorizing the Debtor to Limit Notice and Establishing Notice Procedures through the
   Master Service List via first-class United States mail, postage prepaid, to be sent on April 4, 2024.

                                                 /s/ Nancy H. Brown
                                                     Nancy H. Brown




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